EXHIBIT B
Coinbase Securities Litigation                                                                                                             Number of Shares Purchased (Gross):                        1,914
Loss Chart for Charles Bethune, III                                                                                                          Number of Shares Purchased (Net):                        1,300
Intial Public Offering ("IPO") Date:                     4/14/2021                                                                      Net Funds Expended During Class Period:       $         (553,225.72)
Opening Price on IPO Date:                        $         381.00                                                                                          Out Of Pocket Losses:     $         (259,321.72)
Date of First Lawsuit:                                   7/22/2021                                                                           Losses, If Limited By Opening Price:     $         (200,659.20)
Closing Price on Date of First Lawsuit:           $         226.08

METHOD 1: Out of Pocket Damages on Coinbase Securities
         DATE:             TRANSACTION:      QUANTITY:                   PRICE:        TOTAL COST:       DATE:      TRANSACTION:      QUANTITY:          PRICE:    TOTAL PROCEEDS:    TOTAL GAIN/(LOSS):
       4/14/2021              BOUGHT                   100           $    426.00   $      (42,600.00)                  HELD*               (100)     $    226.08   $      22,608.00   $       (19,992.00)
       4/14/2021              BOUGHT                   308           $    426.00   $     (131,208.00)                  HELD*               (308)     $    226.08   $      69,632.64   $       (61,575.36)
       4/14/2021              BOUGHT                   200           $    426.11   $      (85,222.00)                  HELD*               (200)     $    226.08   $      45,216.00   $       (40,006.00)
       4/14/2021              BOUGHT                   200           $    426.15   $      (85,230.00)                  HELD*               (200)     $    226.08   $      45,216.00   $       (40,014.00)
       4/14/2021              BOUGHT                   300           $    426.17   $     (127,851.00)                  HELD*               (300)     $    226.08   $      67,824.00   $       (60,027.00)
       4/14/2021              BOUGHT                   192           $    426.31   $      (81,851.52)                  HELD*               (192)     $    226.08   $      43,407.36   $       (38,444.16)
       4/28/2021              BOUGHT                   108           $    298.80   $      (32,270.40)
       4/28/2021              BOUGHT                     6           $    298.80   $       (1,792.80)
       4/28/2021              BOUGHT                   398           $    298.80   $     (118,922.40)
       4/28/2021              BOUGHT                     6           $    298.80   $       (1,792.80)
       4/28/2021              BOUGHT                     6           $    298.80   $       (1,792.80)
       4/28/2021              BOUGHT                    90           $    298.80   $      (26,892.00)
                                                                                                        4/30/2021       SOLD                  (614) $ 300.00 $       184,200.00 $                    736.80
                                                                                                                                                          Out Of Pocket Losses: $               (259,321.72)

METHOD 2: Limitation on Damages Imposed By Opening Price on Day 1 of Trading
          DATE:            TRANSACTION:      QUANTITY:        PRICE:       TOTAL COST:                   DATE:      TRANSACTION:      QUANTITY:          PRICE:    TOTAL PROCEEDS:    TOTAL GAIN/(LOSS):
       4/14/2021             BOUGHT (1)                100 $ 381.00 $         (38,100.00)                              HELD*               (100)     $    226.08   $      22,608.00   $       (15,492.00)
       4/14/2021             BOUGHT (1)                308 $ 381.00 $ (117,348.00)                                     HELD*               (308)     $    226.08   $      69,632.64   $       (47,715.36)
       4/14/2021             BOUGHT (1)                200 $ 381.00 $         (76,200.00)                              HELD*               (200)     $    226.08   $      45,216.00   $       (30,984.00)
       4/14/2021             BOUGHT (1)                200 $ 381.00 $         (76,200.00)                              HELD*               (200)     $    226.08   $      45,216.00   $       (30,984.00)
       4/14/2021             BOUGHT (1)                300 $ 381.00 $ (114,300.00)                                     HELD*               (300)     $    226.08   $      67,824.00   $       (46,476.00)
       4/14/2021             BOUGHT (1)                192 $ 381.00 $         (73,152.00)                              HELD*               (192)     $    226.08   $      43,407.36   $       (29,744.64)
       4/28/2021              BOUGHT                   108 $ 298.80 $         (32,270.40)
       4/28/2021              BOUGHT                     6 $ 298.80 $          (1,792.80)
       4/28/2021              BOUGHT                   398 $ 298.80 $ (118,922.40)
       4/28/2021              BOUGHT                     6 $ 298.80 $          (1,792.80)
       4/28/2021              BOUGHT                     6 $ 298.80 $          (1,792.80)
       4/28/2021              BOUGHT                    90 $ 298.80 $         (26,892.00)
                                                                                                        4/30/2021       SOLD                  (614) $ 300.00 $         184,200.00 $                  736.80
                                                                                                                                              Losses, If Limited By Opening Price: $            (200,659.20)

 HELD* = For shares acquired traceable to the initial public offering, and still retained, damages have been determined using the value of the stock at the time that the first‐filed lawsuit
 was brought. See 15 U.S.C. § 77k(e)(1). As of July 22, 2021, that value was $226.08.

 (1) = Unlike a traditional IPO, Coinbase's stock was listed pursuant to a direct offering, rather than with an offering price. The opening price on April 14, 2021 (the first day of trading) was
 $381.00 per share. To approximate the limitation on recoverable damages, any retained shares purchased at a price higher than the opening price of $381.00 have been valued at
 $381.00 per share, and any shares purchased for less than the opening price are valued at their purchase price. See, generally, 15 U.S.C. § 77k(e).
